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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA
                                                                                           ,! .


Hazel Tucker,
                                                               10 '" 690S
            Plaintiff,
v.                                                            COMPLAINT

Focus Receivables Management, LLC

              Defendants.                             JURY TRIAL DEMANDED


                                    JURISDICTION

1.    Jurisdiction of this Court over claims against Defendant Focus Receivables

      Management, LLC (hereinafter "Defendant") arises under 28 U.S.C. § 1331 and

      pursuant to 15 U.S.C. § 1692k(d).

2.    This action arises out of Defendant's violations of the Fair Debt Collection Practices

      Act, 15 U.S.C. § 1692 et seq. ("FDCPA") the Pennsylvania Fair Credit Extension

      Uniformity Act 73 P.S.§ 2270 et seq. ("FCEUA") in its illegal efforts to collect a

      consumer debt.

3.    Venue is proper in this District because the acts and transactions occurred here,

      Plaintiff resides here, and Defendants transact business here.

                                          PARTIES

4.    Plaintiff Hazel Tucker is a natural person who resides in the City of Philadelphia,

      County of Philadelphia, State of Pennsylvania, and is a "consumer" as that term is

      defmed by 15 U.S.C. § 1692a(3),15 U.S.C. § 1692c(d), and 73 P.S.§ 2270.3.




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5.    Defendant Focus Receivables Management, LLC (hereinafter "Defendant") is a

      Georgia corporation and a collection agency operating from an address of 1130

      Northchase Parkway, Suite 150, Marietta, Georgia 30067 and is a '''debt collector" as

      that term is defmed by 15 U.S.c. § 1692a(6).

                              FACTUAL ALLEGATIONS

                         First Abusive Phone Call from Defendant

6.    At some point before December 2009, an alleged consumer credit card debt

      allegedly owed by Plaintiff and her husband Leroy Tucker was consigned, placed

      or otherwise transferred to Defendant for collection from Plaintiff, when thereafter

      Plaintiff started receiving collection communications from Defendant in an attempt

      to collect this debt.

7.    Defendant attached to this alleged debt its own File Number, specifically File #

      12723002.

8.    In mid-December 2009, Plaintiff received a call at her from a Defendant

      representative.

9.    The Defendant representative stated that Plaintiff owed more than ten thousand

      dollars on a credit card debt and that she had to begin making payments on it.

10.   Plaintiff, whose fixed income comprises only a fixed monthly disability check,

      responded that she was disabled and therefore unable to afford the monthly

      payments demanded by the credit card.

11.   The Defendant representative asked Plaintiff what her disability had to do with

      paying a debt that she owed.


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12.   Plaintiff responded that it meant that she did not have the money to make the

      demanded payment amount.

13.   The Defendant representative stated that the creditor wanted their money and

      asked how much money Plaintiff could afford each month to pay toward the debt.

14.   Plaintiff responded that she could afford at most $50 per month.

15.   The Defendant representative sharply responded, "No way," and the conversation

      ended soon thereafter.

16.   As a direct and proximate result of this abusive conversation with Defendant,

      Plaintiff felt embarrassed and belittled.

17.   This calion this occasion from Defendant to Plaintiff was a collection

      communication in violation of numerous and mUltiple provisions of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692d and 1692f, amongst others, and in

      violation ofthe PA FCEUA, specifically 73 P.S. § 2270.4(a).

                      Second Abusive Phone Call from Defendant

18.   Within several days of the first call from Defendant, another Defendant

      representative called Plaintiff at her home and stated that she needed to make an

      immediate payment on her credit card debt.

19.   Plaintiff stated that she had already told another Defendant representative that she

      could not afford the demanded payment amount because she was disabled and had

      a very limited fixed income.




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20.   The Defendant representative responded by asking in a raised voice what a

      disability had to do with anything and then stated that he was sorry that Plaintiff

      was disabled but that she still owed a debt.

21.   Defendant then stated in a raised voice that Plaintiff could go to jail if she did not

      begin making immediate payments on the debt.

22.   As a direct and proximate result of this abusive conversation with Defendant,

      Plaintiff felt sick to her stomach, embarrassed, and belittled and overwhelmingly

      terrified that she might soon be arrested without warning for not making payment

      on the alleged debt.     This fear of arrest engendered unrelenting anxiety and

      physical symptoms thereof that persisted for weeks after the call.

23.   This call on this occasion from Defendant to Plaintiff was a collection

      communication in violation of numerous and multiple provisions of the FDCPA,

      including but not limited to 15 U.S.C. §§ 1692d, 1692d(61), 1692e, 1692e(7),

      1692e(4), 1692e(10), 1692f, amongst others, and in violation of the PA FCEUA,

      specifically 73 P.S.§ 2270.4(a).

                         Daily Harassing Calls from Defendant

24.   Over the next approximately six weeks, Defendant called Plaintiff on average 3

      times per day on her home phone.

25.   As a result of these harassing calls, Plaintiff ceased answering many of the calls to

      her phone out of fear that the caller was Defendant and because she did not believe

      that he should have to be subjected to the abusive treatment he had received in his

      previous communication with a Defendant representative.


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26.   As a direct and proximate result of these incessant calls to Plaintiffs home and

      cell phones, Plaintiff felt under constant attack by Defendant, felt like she was

      living under constant threat of arrest, and experienced anxiety and anger every

      time her phone rang.

27.   These harassing calls placed by Defendant to Plaintiff constitute conduct violating

      numerous and multiple provisions of the FDCPA, including but not limited to 15

      U.S.C. §§ 1692d and 1692d(5) amongst others, and violating the PA FCEUA,

      specifically 73 P.S.§ 2270.4(a).

                             Respondeat Superior Liability

28.   The acts and omissions of each and every representative of Defendant who were

      employed as agents by Defendant and who communicated with Plaintiff as more

      further described herein, were committed within the time and space limits of their

      agency relationship with their principal, Defendant.

29.   The acts and omissions by the representatives of Defendant, who were acting as debt

      collectors, were incidental to, or of the same general nature as, the responsibilities

      these agents were authorized to perform by Defendant in collecting consumer debts.

30.   By committing these acts and omissions against Plaintiff in their capacity as debt

      collectors, the representatives of Defendant were motivated to benefit their principal,

      Defendant.

31.   Defendant is therefore liable to Plaintiffs through the Doctrine of Respondeat

      Superior for the intentional and negligent acts, errors, and omissions done in

      violation of state and federal law by its representatives and its collection


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      employees, including but not limited to violations of the FDCPA and FCEUA, in

      their attempts to collect this debt from Plaintiff.

                                         Summary

32.   The above-detailed conduct by Defendant of harassing Plaintiff in an effort to collect

      this debt was a violation of numerous and multiple provisions of the FDCPA,

      including but not limited to all of the above-mentioned provisions of the FDCPA,

      and the FCEUA, specifically 73 P.S.§ 2270.4(a).

33.   Plaintiff has suffered actual damages as a result of these illegal collection

      communications by these Defendants in the form of hopelessness, anger, anxiety,

      emotional distress, fear, frustration, upset, humiliation, embarrassment, amongst

      other negative emotions, as well as in the form of physical symptoms connected to

      the anxiety and fear engendered by the threat of arrest.

                                    TRIAL BY JURY

34.   Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

      amend. 7. Fed.R.Civ.P.38.

                                  CAUSES OF ACTION

                                         COUNT I

      VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                  15 U.S.C. § 1692 et seq.

35.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.




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36.   The foregoing intentional and negligent acts and omISSIOns of Defendant

      constitute numerous and multiple violations of the FDCPA including, but not

      limited to, each and every one of the above-cited provisions of the FDCPA, 15

      U.S.C. § 1692 et seq.

37.   As a result of Defendant's violations of the FDCPA, Plaintiff is entitled to actual

      damages pursuant to 15 U.S.C. § 1692k(a)(l); statutory damages in an amount up

      to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney's

      fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).

                                        COUNT II.

      VIOLATIONS OF THE FAIR CREDIT EXTENSION UNIFORMITY ACT

                                    73 P.S. § 2270 et seq.

38.   Plaintiff incorporates by reference all of the above paragraphs of this Complaint as

      though fully stated herein.

39.   The foregoing acts and omissions of Defendant and its agents constitute numerous

      and multiple violations of the Pennsylvania FCEUA, specifically 73 P.S.§

      2270.4(a) with respect to Plaintiff.

40.   Pursuant to 73 P.S.§ 2270.5(a), the commission of an unfair or deceptive debt

      collection act or practice under the Pennsylvania FCEUA constitutes a violation of

      the Pennsylvania Unfair Trade Practices and Consumer Protection Law.

41.   Pursuant to 73 P.S. § 201-9.2(a) of the Pennsylvania Unfair Trade Practices and

      Consumer Protection Law, Defendant's violations of the Pennsylvania FCEUA

      entitle Plaintiff to recovery for actual damages or dollars ($100), whichever is


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      greater, with the additional provision that the court may, in its discretion, award up

      to three times the actual damages sustained, but not less than one hundred dollars

      ($100); reasonable attorney's fees and costs pursuant to 73 P.S. § 201-9.2(a), from

      Defendant herein; and any additional relief as the court deems necessary and

      proper pursuant to 73 P.S. § 201-9.2(a).

                                 PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays that judgment be entered against Defendant:

                                          COUNT I.

     VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                                  15 U.S.C. § 1692 et seq.

      •    for an award of actual damages pursuant to 15 U.S.C. § 1692k(a)(I) against

           Defendant and for Plaintiff;

      •    for an award of statutory damages of $1,000.00 pursuant to 15 U.S.C.

           § 1692k(a)(2)(A) against Defendant and for Plaintiff;

      •    for an award of costs of litigation and reasonable attorney's fees pursuant to 15

           U.S.C. § 1692k(a)(3) against Defendant and for Plaintiff; and

      •    for such other and further relief as may be just and proper.

                                          COUNT II.

    VIOLATIONS OF THE FAIR CREDIT EXTENSION UNIFORMITY ACT

                                    73 P.S. § 2270 et seq.

      •    for an award of treble actual damages pursuant to 73 P.S. § 201-9.2(a) against

           Defendant and for Plaintiff;


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      •    for an award of costs of litigation and reasonable attorney's fees pursuant to 73

           P.S. § 201-9.2(a) against Defendant and for Plaintiff; and

      •    for such other and further relief as may be just and proper.




                                                Respectfully submitted,

Dated: November 24,2010                         DOV SACKS, ESQ

                                                By: slDov Sacks
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cds                                             Attorney for Plaintiff




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            VERIFICATION OF COMPLAINT AND CERTIFICATION

STATE OF PENNSYLVANIA  )
                       ) ss
COUNTY OF PHILADELPHIA )

Plaintiff HAZEL TUCKER, having first been duly sworn and upon oath, deposes and says
as follows:

1. I am a Plaintiff in this civil proceeding.
2. I have read the above-entitled civil Complaint prepared by my attorneys and I believe
   that all of the facts contained in it are true, to the best of my knowledge, information and
   belief formed after reasonable inquiry.
3. I believe that this civil Complaint is well grounded in fact and warranted by existing law
   or by a good faith argument for the extension, modification, or reversal of existing law.
4. I believe that this civil Complaint is not interposed for any improper purpose, such as to
   harass any Defendant(s), cause unnecessary delay to any Defendant(s), or create a
   needless increase in the cost of litigation to any Defendant(s), named in the Complaint.
5. I have filed this civil Complaint in good faith aIfd solely for the purposes set forth in it.
6. Each and every exhibit I have provided to my attorneys which has been attached to this
   Complaint is a true and correct copy of the originaL
7. Except for clearly indicated redactions made by my attorneys where appropriate, I have
   not altered, changed, modified, or fabricated these exhibits, except that some of the
   attached exhibits may contain some of my own handwritten notations.




       Hazel Tucker
       September 1, 2010
